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                            IN THE UNITED STATES DISTRICT COURT
                             FOR SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 1:18-cv-23992-JEM

   COMMODITY FUTURES TRADING
   COMMISSION,

                                  Plaintiff,

                          v.

   TIMOTHY JOSEPH ATKINSON, JAY
   PASSERINO, ALL IN PUBLISHING, LLC,
   & GASHER, INC.,

                           Defendants.
   _________________________________________/

               RECEIVER’S THIRD INTERIM APPLICATION FOR AN ORDER
                APPROVING AND AUTHORIZING PAYMENT OF FEES AND
                  EXPENSES OF RECEIVER AND HER PROFESSIONALS

          Melanie E. Damian, the court-appointed temporary Receiver (the “Receiver”) in the above-

   captioned United States Commodity Futures Trading Commission (the “CFTC”) enforcement

   action, files her third interim application (the “Application”) seeking the Court’s (a) approval of

   all of the fees and costs that the Receiver and her professionals incurred from April 1, 2019 through

   July 31, 2019 (the “Application Period”); and (b) authorization to immediately pay all fees and

   costs from funds held by the receivership estate (the “Estate”). In support of her Application, the

   Receiver states as follows:

                                               SUMMARY

          All of the work performed by the Receiver and her professionals during the Application

   Period is described in detail in the Receiver’s Third Status Report, filed with the Court on August

   9, 2019 (the “Third Status Report”) [ECF No. 225].
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          During the four-month Application Period, the Receiver and her lead counsel, Damian &

   Valori, LLP, incurred $80,280.00 in fees and $2,011.63 in costs. The Receiver’s forensic

   accountants, Kapila Mukamal, LLP, incurred $16,063.50 in fees and $32.98 in costs.

          The foregoing fees and costs were reasonable and necessary to fulfill the Receiver’s duties

   and responsibilities pursuant to Plaintiff’s Motion for Statutory Restraining Order, Appointment

   of Receiver, an Accounting and Other Equitable Relief (the “Statutory Restraining Order”) [ECF

   No. 48], the Consent Order for Preliminary Injunction and Other Ancillary Relief Against

   Defendants Timothy Joseph Atkinson and All in Publishing LLC (the “Consent Injunction”) [ECF

   No. 127], and the Order for Preliminary Injunction and Other Ancillary Relief Against Defendants

   Jay Passerino and Gasher, Inc. [ECF No. 125] (the “Preliminary Injunction” and together with

   the Consent Injunction, the “Preliminary Injunctions”).

          I.      INTRODUCTION AND BACKGROUND

          On October 5, 2018, the Court entered the Statutory Restraining Order. Pursuant that

   Order, the Defendants’ assets were frozen, all records of Defendants’ activities and assets were

   ordered to be preserved, and Melanie E. Damian was appointed Temporary Receiver of the entity

   Defendants and the assets of the individual Defendants in the CFTC Action. On October 11, 2018,

   Defendants Atkinson and All In Publishing, LLC (“AIP”) consented to the Court’s entry of a

   Preliminary Injunction against them. On November 16, 2018, the Court entered the Preliminary

   Injunctions, which among other things, extended the injunctive relief, asset freeze, directives and

   appointment of the Receiver ordered in the Statutory Restraining Order.

                  A.     Employment of Professionals

          Pursuant to the Statutory Restraining Order and the Preliminary Injunctions, the Receiver

   was provided with authority to “[m]anage and administer the Receivership Defendants and



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   Receivership Estate by performing all acts incidental thereto that the Temporary Receiver deems

   appropriate, including … (1) the retention and employment of investigators, attorneys, or

   accountants … of the Temporary Receiver’s choice, including without limitation members and

   employees of the Temporary Receiver’s firm.” See Statutory Restraining Order, ¶ 27(F); Consent

   Preliminary Injunction, ¶ 29; Preliminary Injunctions, ¶ 39(F).

          Accordingly, the Receiver engaged Damian & Valori LLP (“Lead Counsel”) as her lead

   counsel, and Kapila Mukamal LLP (the “Forensic Accountant”) as her forensic accountant and tax

   consultant.

          All of the Receiver’s professionals have agreed to reduce their hourly rates (by up to 45%)

   to minimize the cost to the Estate of the services they provide.

                  B.      Compensation

          The Receiver files this Application seeking the Court’s approval of all of the fees and costs

   incurred by the Receiver and her professionals during the Application Period, and authorization to

   immediately pay all such fees and costs from the funds recovered and held in the Receiver’s

   fiduciary accounts.

          II.     ASSETS RECOVERED BY THE ESTATE TO DATE

          As reported in the Third Status Report, as of July 31, 2019, the total amount of funds that

   the Receiver recovered from Defendants Atkinson and AIP (together “AIP Defendants”) was

   $1,418,549.11 and the total amount of funds that the Receiver recovered from Defendants

   Passerino and Gasher, Inc. (together “Gasher Defendants”) was $1,105,169.43. An accounting of




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   all receipts and disbursements made by the Estate during the Application Period was attached to

   the Receiver’s Third Status Report as Exhibit A and is attached hereto as Exhibit A.1

           III.   WORK PERFORMED BY THE RECEIVER AND HER PROFESSIONALS
                  DURING THE APPLICATION PERIOD

           The Receiver’s and her professionals’ complete time records and detailed descriptions of

   the work performed during the Application Period are set forth in the invoices attached hereto as

   Exhibits B and C. In total, the Receiver and her Lead Counsel incurred $80,280.00 in fees and

   $2,011.63 in costs, and the Receiver’s Forensic Accountant incurred $16,063.50 in fees and $32.98

   in costs.

                  A. AIP-Related Work

           During the Application Period, the Receiver and her Lead Counsel expended a total of

   167.30 hours on work related solely to the AIP Defendants. See Exhibit B-1 and Receiver’s Third

   Status Report [ECF No. 225]. In doing so, the Receiver and Lead Counsel incurred $45,195.00 in

   fees and $1,840.31 in costs. See Exhibit B-1.

           The Receiver’s Forensic Accountant expended a total of 45.70 hours assisting the Receiver

   to fulfill her fiduciary duties with respect to the AIP Defendants during the Application Period.

   See Exhibit C-1 and Receiver’s Third Status Report [ECF No. 225]. In connection with such

   efforts, the Forensic Accountant incurred $12,210.50 in fees and $16.44 in costs.

           The Receiver proposes to use the funds recovered from the AIP Defendants to pay the

   foregoing fees and costs of the Receiver and her professionals.




   1
    The Receiver is currently maintaining the funds recovered from the AIP Defendants and the funds
   recovered from the Gasher Defendants in separate fiduciary accounts.
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                  B. Gasher-Related Work

          During the Application Period, the Receiver and her Lead Counsel expended a total of

   22.50 hours on work related solely to the Gasher Defendants. See Exhibit B-2 and Receiver’s

   Third Status Report [ECF No. 225]. In doing so, the Receiver and Lead Counsel incurred

   $5,907.50 in fees and $101.56 in costs. See Exhibit B-2.

          The Receiver’s Forensic Accountant expended a total of 14.40 hours assisting the Receiver

   to fulfill her fiduciary duties with respect to the Gasher Defendants during the Application Period.

   See Exhibit C-2 and Receiver’s Third Status Report [ECF No. 225]. In connection with such

   efforts, the Forensic Accountants incurred $3,853.00 in fees and $16.54 in costs.

          The Receiver proposes to use the funds recovered from the Gasher Defendants to pay the

   foregoing fees and costs of the Receiver and her professionals.

                  C. General Receivership Matters

          During the Application Period, the Receiver and her Lead Counsel expended a total of

   125.90 hours on general receivership and administrative work necessary to fulfill the Receiver’s

   duties under the Statutory Restraining Order and the Preliminary Injunctions. See Exhibit B-3

   and Receiver’s Third Status Report [ECF No. 225]. In connection with such work, the Receiver

   and Lead Counsel incurred $29,177.50 in fees and $69.76 in costs. No other professional of the

   Receiver performed any general receivership and administrative work or advanced costs in

   connection therewith.

          Given the nature and purpose of the general receivership and administrative work

   performed by the Receiver and Lead Counsel, it will likely have an equal benefit on the eventual

   beneficiaries of the Receivership Estate. Calculating the precise extent to which such work will

   benefit the creditors of the AIP Defendants and the creditors of the Gasher Defendants, allocating



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   the fees and costs incurred for such work between the funds recovered from each of those

   Defendants based on those calculations, and then litigating potential objections to such calculations

   and allocation would be extremely time-consuming and costly to the Estate.

            Therefore, the Receiver proposes to divide the fees and costs incurred for general

   receivership and administrative work equally between the AIP Defendants and the Gasher

   Defendants, paying 50% ($14,623.63) of the fees and costs with funds in the AIP fiduciary account

   and 50% ($14,623.63) of them with funds in the Gasher fiduciary account.

            IV.     REDUCED TIME AND HOURLY RATES

            The Receiver and her professionals reduced their hourly rates (by up to 45%) for this

   engagement, resulting in significant savings for the Estate.2 In addition, the Receiver and her Lead

   Counsel reduced their fees by approximately 9% for the Application Period and did not charge for

   time expended while preparing this Fee Application or the attached invoices. In fact, during the

   Application Period, the Receiver and her Lead Counsel’s total blended hourly rate (total fees

   incurred divided by total hours expended) was $254.29, and her Forensic Accountant’s blended

   rate was $267.38.


   2
       For example, the Receiver’s and her Lead Counsel’s hourly rates have been reduced as follows:

            a) The Receiver –                                    From $525 to $275
            b) Partners –                                        From up to $500 to $275
            c) Of Counsel –                                      From up to $500 to $250-$260
            d) Associates –                                      From up to $275 to $175-$225
            e) Paralegals and other nonprofessionals –           From up to$200 to $75-$150

   The Receiver’s Forensic Accountant also reduced its hourly rates. Indeed, Mr. Kapila’s normal
   hourly rate is $520 but for this matter it has been reduced to $275 for forensic accounting work,
   and the rates of other accountants and professionals at Mr. Kapila’s firm were reduced to less than
   or equal to $275 for forensic accounting work. Because of the specialized nature and limited extent
   of the work performed by the Receiver’s tax consultant at Kapila Mukamal, LLP, the tax
   consultant’s hourly rate was reduced to $450, which explains why the Forensic Accountant’s
   blended rate was slightly more than the reduced hourly rate of $275 for forensic accounting work.
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          V.      MEMORANDUM OF LAW

          The Receiver and her professionals are entitled to reasonable compensation and expenses

   pursuant to the Receivership Order. A receiver appointed by a court who reasonably and diligently

   discharges her duties is entitled to be fairly compensated for services rendered and expenses

   incurred. See SEC v. Byers, 590 F. Supp. 2d 637, 644 (S.D.N.Y. 2008); see also SEC v. Elliott,

   953 F.2d 1560 (11th Cir. 1992) (“[I]f a receiver reasonably and diligently discharges his duties, he

   is entitled to compensation.”) A receiver and her lawyers are “also entitled to be reimbursed for

   the actual and necessary expenses they incurred in the performance of their duties.” Fed. Trade

   Comm’n v. Direct Benefits Grp., LLC, Case NO. 6:11-cv-1186-Orl-28TBS, 2013 WL 6408379, at

   *3 (M.D. Fla. Dec. 6, 2013).

          Receivership courts have traditionally determined reasonableness of compensation by

   using the “lodestar” approach, calculating a reasonably hourly rate in the relevant market and the

   reasonable number of hours expended. See, e.g., SEC v. Aquacell Batteries, Inc., Case No. 6:07-

   cv-608-Orl-22DAB, 2008 WL 276026, *3 (M.D. Fla. Jan. 31, 2008); see also Norman v. Hous.

   Auth. of Montgomery, 836 F.2d 1292, 1299-1302 (11th Cir. 1988). The hourly rates billed by the

   Receiver and her professionals are reasonable for professionals practicing in the Middle District

   of Florida, particularly in light of the reduced hourly rates described above, and the services

   reflected in the attached exhibits were reasonably necessary to the Receiver’s performance of her

   duties as set forth in the Receivership Order.

          VI.     REQUEST FOR FEES AND COSTS

          As set forth in the Statutory Restraining Order and the Preliminary Injunctions, the

   Receiver is authorized to seek approval from this Court for compensation for her services and

   those of her professionals on a periodic basis.



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          By this Application, the Receiver is proposing that this Court approve all of the fees and

   costs incurred by the Receiver, her Lead Counsel, and her Forensic Accountant, and authorize the

   payment of 100% of such fees and costs as proposed infra.

          As reflected in the attached invoices, the total amount of fees and costs incurred by the

   Receiver and her professionals during the Application Period (April 1, 2019 through July 31, 2019)

   is as follows:

          A. The Receiver and Lead Counsel (Damian & Valori, LLP):

                    1. The total amount of fees and costs incurred in connection with AIP Defendants

                       was $47,035.31 (which total includes $45,195.00 in fees and $1,840.31 in

                       costs). See Exhibit B-1.

                    2. The total amount of fees and costs incurred in connection with the Gasher

                       Defendants was $6,009.06 (which total includes $5,907.50 in fees and $101.56

                       in costs). See Exhibit B-2.

                    3. The total amount of fees and costs incurred in connection with general

                       receivership and administrative matters was $29,247.26 (which total includes

                       $29,177.50 in fees and $69.76 in costs). See Exhibit B-3.

          B. The Forensic Accountant (Kapila Mukamal, LLP):

                    1. The total amount of fees and costs incurred in connection with the AIP

                       Defendants was $12,226.94 (which total includes $12,210.50 in fees and $16.44

                       in costs). See Exhibit C-1.

                    2. The total amount of fees and costs incurred in connection with the Gasher

                       Defendants was $3,869.54 (which total includes $3,853.00 in fees and $16.54

                       in costs). See Exbibit C-2.



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          VII.    CERTIFICATION OF CONFERENCE

          Counsel for the CFTC and counsel for the Defendants have reviewed this Application, the

   request for fees and costs, and the attached invoices, and have informed the undersigned counsel

   that they do not oppose the relief sought herein.

          WHEREFORE, Melanie E. Damian, the Court-appointed Receiver, respectfully requests

   that the Court enter an Order:

          (a)     approving the total amount of fees and costs that the Receiver and her Lead

   Counsel, Damian & Valori LLP, incurred during the Application Period in the amount of

   $82,291.63 (comprised of $80,280.00 in fees, and $2,011.63 in costs);

          (b)     authorizing the Receiver to pay 100% of the fees and costs that the Receiver and

   her Lead Counsel, Damian & Valori LLP, incurred during the Application Period, as follows:

                      1. $61,658.94, comprised of $47,035.31 in fees and costs incurred for AIP-

                          related work and $14,623.63 in fees and costs for the AIP Defendants’ 50%

                          share of the general receivership and administrative fees and costs, to be

                          paid from the Receiver’s AIP fiduciary account;

                      2. $20,632.69, comprised of $6,009.06 in fees and costs incurred for Gasher-

                          related work and $14,623.63 in fees and costs for the Gasher Defendants’

                          50% share of the general receivership and administrative fees and costs, to

                          be paid from the Receiver’s Gasher fiduciary account;

           (c)    approving the total amount of fees and costs that the Forensic Accountant, Kapila

   Mukamal, LLP, incurred during the Application Period in the amount of $16,096.48 (comprised

   of $16,063.50 in fees, and $32.98 in costs);




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          (d)       authorizing the Receiver to pay 100% of fees and costs that the Forensic

   Accountants, Kapila Mukamal, LLP, incurred during the Application Period, as follows:

                       1. $12,226.94 in fees and costs to be paid from the Receiver’s AIP fiduciary

                           account;

                       2. $3,869.54 in fees and costs to be paid from the Receiver’s Gasher fiduciary

                           account;

          (e)       granting any and all other relief the Court deems appropriate under the

   circumstances.

          VIII. CERTIFICATION

          The Receiver certifies that:

          (a)       I have read this Application;

          (b)       to the best of my knowledge, information and belief formed after reasonable

   inquiry, the Application and all fees and expenses therein are true and accurate;

          (c)       all fees contained in the Application are based on the rates listed in the Exhibits

   attached hereto and such fees are reasonable, necessary and commensurate with the skills and

   experience required for the activity performed;

          (d)       I have not included in the amount for which reimbursement is sought the

   amortization of the cost of any investment, equipment, or capital outlay (except to the extent that

   any such amortization is included within the permitted allowable amounts set forth herein for

   photocopies and facsimile transmission);

          (e)       in seeking reimbursement for a service which I justifiably purchased or contracted

   for from a third party (such as copying, imaging, bulk mail, messenger service, overnight courier,

   computerized research, or title and lien searches), I require reimbursement only for the amount



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   billed to me by the third-party vendor and paid by me to such vendor. To the extent that such

   services were performed by me as Receiver, I certify that I am not making a profit as Receiver on

   such reimbursable service; and

          (f)     I have not entered into any agreement, written or oral, express or implied, with any

   person or entity concerning the amount of compensation paid or to be paid from the Estate, or any

   sharing thereof.

                                                  /s/ Melanie E. Damian
                                                  MELANIE E. DAMIAN, RECEIVER


          Respectfully submitted this 14th day of October, 2019.

                                                         DAMIAN & VALORI, LLP
                                                         Counsel for Receiver
                                                         1000 Brickell Avenue, Suite 1020
                                                         Miami, Florida 33131
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                                                         /s/ Kenneth Dante Murena
                                                         Kenneth Dante Murena, Esq.
                                                         Florida Bar No. 147486
                                                         E-mail: kmurena@dvllp.com
                                                         Counsel for Melanie E. Damian,
                                                         Court- Appointed Receiver

                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on the 14th day of October, 2019 a true and correct copy of

   the foregoing was served by CM/ECF, upon all counsels of record, and by U.S. Mail and/or e-mail

   upon all parties listed in the Service List below.

                                                         /s/ Kenneth Dante Murena
                                                         Kenneth Dante Murena, Esq.
                                                         Counsel for Receiver




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